                  Case 23-10983-TMH               Doc 91       Filed 11/01/23         Page 1 of 2



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 15

         NEXTPOINT FINANCIAL INC., et al.,                              Case No. 23-10983 (TMH)

                  Debtors in a foreign proceeding. 1                    Re D.I. No. 80



                   NOTICE OF FILING OF (I) CCAA VESTING ORDER AND
                         (II) FINAL TRANSACTION AGREEMENT

        PLEASE TAKE NOTICE that, on October 16, 2023, NextPoint Financial Inc., in its
capacity as Foreign Representative for each of the above-captioned foreign debtors (the
“Debtors”), filed the Motion of the Foreign Representative for Entry of an Order (I) Recognizing
and Enforcing the CCAA Vesting Order, (II) Approving the Sale of Substantially All of the
Debtors’ Interests Free and Clear of Liens, Claims, and Encumbrances, and (III) Granting Related
Relief (the “Motion”) [D.I. 80].

       PLEASE TAKE FURTHER NOTICE that the Motion attached proposed forms of the
CCAA Vesting Order and the Transaction Agreement (each as defined in the Motion) as Exhibit
1 to Exhibit A and Exhibit B, respectively;

       PLEASE TAKE FURTHER NOTICE that, on October 31, 2023, the Canadian court
granted the CCAA Vesting Order, attached hereto as Exhibit A, and a redline of the CCAA
Vesting Order against the version filed with the Motion is attached as Exhibit B hereto.

        PLEASE TAKE FURTHER NOTICE that an executed copy of the Transaction
Agreement is attached hereto as Exhibit C, and a redline of the Transaction Agreement against
the version filed with the Motion is attached as Exhibit D hereto.



1
         The Debtors in these chapter 15 proceedings, together with the last four digits of their business identification
numbers are: NextPoint Financial Inc. (6134); LT Holdco, LLC (8090); LT Intermediate Holdco, LLC (0811);
SiempreTax+ LLC (6145); JTH Tax LLC (8391); Liberty Tax Holding Corporation (N/A); Liberty Tax Service, Inc.
(N/A); JTH Financial, LLC (1522); JTH Properties 1632, LLC (0248); Liberty Credit Repair, LLC (5427); Wefile,
LLC (6778); JTH Tax Office Properties, LLC (0248); LTS Software LLC (6450), JTH Court Plaza, LLC (2116); 360
Accounting Solutions, LLC (8312); LTS Properties, LLC (9088); NPI Holdco LLC (1936); CTAX Acquisition LLC
(6975); Community Tax Puerto Rico LLC (4349); Community Tax LLC (8001); NPLM Holdco LLC (8132); MMS
Servicing LLC (7430); LoanMe, LLC (5663); LoanMe Funding, LLC (2305); LM Retention Holdings, LLC (N/A);
LoanMe Trust-Prime 2018-1 (0257); LoanMe Trust SBL 2019-1 (N/A); LoanMe Stores LLC (3810); InsightsLogic
LLC (0818); and LM 2020 CM I SPE, LLC (N/A). The location of the Debtors’ headquarters is 500 Grapevine Hwy,
Suite 402, Hurst, TX 76054, and the Debtors’ mailing address is 1133 Melville St., Suite 2700, Vancouver, BC V6E
4E5.
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            Case 23-10983-TMH       Doc 91     Filed 11/01/23   Page 2 of 2


        PLEASE TAKE FURTHER NOTICE that the Foreign Representative hereby submits
the attached exhibits as supplemental exhibits in support of the Motion.

        PLEASE TAKE FURTHER NOTICE that copies of all petitions, motions and pleadings
filed in the above-captioned case may be obtained through the website of the Foreign
Representative’s noticing agent at https://cases.stretto.com/nextpoint.

Dated: November 1, 2023         Respectfully submitted,
       Wilmington, Delaware
                                DLA PIPER LLP (US)

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                                -and-

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                                Counsel to the Foreign Representative




                                           2
